Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 1 of 21 PageID: 809




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                                  TRENTON VICINAGE


   CHRISTINE CONFORTI, ARATI                           Case No. 3:20-cv-08267-FLW-TJB
   KREIBICH, MICO LUCIDE, JOSEPH
   MARCHICA, KEVIN MCMILLAN,
   ZINOVIA SPEZAKIS and NEW JERSEY
   WORKING FAMILIES ALLIANCE, INC.,

                    Plaintiffs,

   v.

   CHRISTINE GIORDANO HANLON, in her
   official capacity as Monmouth County Clerk,
   SCOTT M. COLABELLA, in his official
   capacity as Ocean County Clerk, PAULA
   SOLLAMI COVELLO, in her official capacity
   as Mercer County Clerk, JOHN S. HOGAN, in
   his official capacity as Bergen County Clerk,
   EDWARD P. MCGETTIGAN, in his official
   capacity as Atlantic County Clerk and E.
   JUNIOR MALDONADO, in his official
   capacity as Hudson County Clerk,

                    Defendants.



      BRIEF IN SUPPORT OF MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED
  COMPLAINT, PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1) AND
  12(b)(6), ON BEHALF OF DEFENDANT JOHN S. HOGAN, IN HIS OFFICIAL CAPACITY
                           AS BERGEN COUNTY CLERK


                                    KAUFMAN, SEMERARO & LEIBMAN, LLP
                                    Two Executive Drive, Suite 530
                                    Fort Lee, New Jersey 07024
                                    (201)947-8855
                                    Attorneys for Defendant John S. Hogan, in his official
                                    capacity as Bergen County Clerk
 Jaime R. Placek, Esq.
 Attorney ID No. 041071996
 On the Brief
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 2 of 21 PageID: 810




                           TABLE OF CONTENTS

                                                                          Page

   TABLE OF CONTENTS……………………………………………………………..…………i

   TABLE OF AUTHORITIES…………………………………………………………….……..ii

   PRELIMINARY STATEMENT…………………………………………………….………….1

   PROCEDURAL HISTORY………………………………………………………….…………2

   STATEMENT OF FACTS………………………………………………………….…………..3

   LEGAL ARGUMENT………………………………………………………………….………6

      STANDARD OF REVIEW…………………………………………………….…………..6

      I.    PLAINTIFFS’ FIRST AMENDED COMPLAINT MUST BE DISMISSED
            BASED UPON ITS FAILURE TO STATE A CLAIM UPON WHICH RELIEF
            MAY BE GRANTED BY THIS COURT………………………………….………8

     II.   PLAINTIFFS’ CLAIMS ARE NOT RIPE FOR REVIEW BY THIS
           COURT………………………………………………………………….…………16

 CONCLUSION…………………………………………………………………..…………...…17




                                       i
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 3 of 21 PageID: 811




                               TABLE OF AUTHORITIES

                                          Cases
                                                                                   Page

 Anderson v. Celebrezze, 460 U.S. 780 (1983)……………………………………………….12, 13

 Anspach v. City of Philadelphia, 503 F.3d 256 (3d Cir. 2007)……………………………………6

 Ashcroft v. Iqbal, 556 U.S. 662 (2009)…………………………………………………………6, 7

 Bell Atl. Corp. v. Twombley, 550 U.S. 544…………………………...………………………….7

 Burdick v. Takushi, 504 U.S. 428 (1992)………………………………………………….7, 13, 14

 Doe v. Reed, 561 U.S. 186 (2010)……………………………………………………………….15

 Democratic-Republican Org. v. Guadagno, 900 F.Supp.3d 447 (D.N.J. 2012),
      aff’d 700 F.3d 130 (3d Cir. 2012)…………………………………………………………7

 Eu v. San Francisco Democratic Central Committee, 489 U.S. 214 (1989)……………………...11

 Gillen v. Sheil, 174 N.J. Super. 386 (Law Div. 1980)……………………………………………12

 Hedges v. United States, 404 F.3d 744 (3d Cir. 2005)…………………………………………….7

 Lesniak v. Budzah, 626 A.2d 1073 (1993)………………………………………………………14

 Morse v. Lower Merion School Dist., 132 F.3d 902 (3d Cir. 1997)……………………………6, 7

 Nader v. Schaffer, 417 F. Supp. 837 (D. Conn.),
        aff’d, 429 U.S. 989 (1976)……………………………………………………………...15

 Plains All Am. Pipeline L.P. v. Cook, 866 F.3d 534 (3d Cir.2017)……………………………...16

 Quaremba v. Allan, 67 N.J. 1 (1974)…………………………………………………………….10

 Republican Party of PA v. Cortez, 218 F.Supp.3d 396 (E.D. Pa. 2016)………………………...14

 Richardson v. Caputo, 49 N.J. 3 (1965)…………………………………………………………10

 Rogers v. State Committee of Republican Party, 236 N.J. Super. 303 (App. Div. 1989)…………8

 Smith v. Penta, 81 N.J. 65 (1979)………………..……………………………………………….15



                                            ii
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 4 of 21 PageID: 812




                            TABLE OF AUTHORITIES
                                     (Cont.)

                                      Cases
                                                                         Page

 Timmons v. Twin Cities Area New Party, 520 U.S. 351 (1997)………………………………….7

 United States v. Macavage, 609 F.3d 264 (3d Cir. 2010)…………………………..……………………15

                                   Statutes

 N.J.S.A. 19:5-1………………………………………………………………...………………….8

 N.J.S.A. 19:23-5……………………………………………………………………..……………8

 N.J.S.A. 19:23-24…………………………………………………………………...…………….8

 N.J.S.A. 19:23-26.1……………………………………………………………/…………………5

 N.J.S.A. 19:49-2…………………………………………………………//…4, 5, 9, 10, 11, 12, 13

                                    Rules

 Fed. R. Civ. P. 12(b)(6)…………………………………………………………………………………….7




                                       iii
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 5 of 21 PageID: 813




                                 PRELIMINARY STATEMENT

        Plaintiffs, various candidates who ran as a candidate for office in prior primary elections

 or who represent they intend to run as a candidate for office in future primary elections, have now

 filed a First Amended Complaint (hereinafter, the “Amended Complaint”) seeking a ruling by this

 Court declaring as unconstitutional the New Jersey statutes governing candidate ballot position

 selection in primary elections. Specifically, Plaintiffs contend that New Jersey law governing the

 method in which drawings are conducted to determine candidate ballot position results in unequal

 treatment between those candidates who are “bracketed” with other candidates on the ballot for

 other offices and those candidates who are not “bracketed” with other candidates on the ballot for

 other offices.

        The Amended Complaint added as Plaintiffs Arati Kreibich (“Kreibich”), a Democratic

 candidate on the ballot in the July 7, 2020 Primary Election for the office of United States House

 of Representatives in New Jersey’s Fifth Congressional District, and Zinovia Spezakis

 (“Spezakis”), a Democratic candidate on the ballot in the July 7, 2020 Primary Election for the

 office of United States House of Representatives in New Jersey’s Ninth Congressional District.

 As candidates for those respective offices, both Kreibich and Spezakis appeared as candidates on

 ballots in elections held in the County of Bergen. In conjunction with adding Krieibich and

 Spezakis as Plaintiffs, the Honorable John S. Hogan has now been named as a defendant by

 Plaintiffs in the Amended Complaint in his official capacity as the Bergen County Clerk as the

 Bergen County Clerk is charged with overseeing the design, preparation and printing of all

 election ballots, the issuance of all mail-in ballots and conducting the drawing for candidate ballot

 position for elections held in the County of Bergen.




                                                  1
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 6 of 21 PageID: 814




        As is presented herein, and within the briefs of co-defendants submitted in support of their

 respective Motions to Dismiss being filed in this action, despite the various policy arguments

 presented in the Amended Complaint, the New Jersey statutes now being challenged by Plaintiffs

 survive constitutional scrutiny on the merits. Consistent with the ruling of the New Jersey Supreme

 Court, the interests of New Jersey in protecting the rights of candidates for office to associate, as

 is presented by the presently enacted statutory ballot drawing procedures, carry significantly

 greater weight when balanced against the alleged injury as is being claimed by Plaintiffs and,

 accordingly, Plaintiffs’ Amended Complaint should be dismissed it its entirety, with prejudice.

                                      PROCEDURAL HISTORY

        Plaintiff Christine Conforti (hereinafter, “Conforti”) filed her initial Complaint with this

 Court on July 6, 2020 (Docket No. 1), one day prior to the holding of New Jersey’s Primary

 Election on July 7, 2020 (the date of which was rescheduled from the originally scheduled

 Primary Election date of June 2, 2020 by Executive Order No. 120 issued April 8, 2020 by

 the   Honorable        Philip   D.   Murphy,   Governor      of   the   State   of    New     Jersey

 https://nj.gov/infobank/eo/056murphy/pdf/EO-120.pdf), seeking a ruling

 by this Court that New Jersey's law governing the method in which ballot position is selected

 is unconstitutional.

        Subsequent to the filing of a motion to intervene by the Bergen County Clerk (Docket

 No. 7) which was granted by this Court by Order filed October 22, 2020 (Docket No. 22),

 Conforti, joined with newly named Plaintiffs Kreibich, Mico Lucide, Joseph Marchica, Kevin

 McMillan, Spezakis and New Jersey Working Families Alliance, Inc. (hereinafter,

 collectively (“Plaintiffs”), filed the Amended Complaint on January 25, 2021 which also now

 names the Honorable John S. Hogan, in his official capacity as the Bergen County Clerk


                                                  2
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 7 of 21 PageID: 815




 (Docket No. 33). This Motion to Dismiss is now filed pursuant to the Consent Order filed by

 this Court on March 17, 2021 (Docket No. 51), seeking dismissal of Plaintiffs’ Amended

 Complaint in its entirety, with prejudice.

                                        STATEMENT OF FACTS

         1.     Plaintiffs are various political candidates who ran as a candidate for office in the

 July 7, 2020 Primary Election or who represent they intend to run as a candidate for office in future

 Primary Elections. (Docket No. 33).

         2.     Kreibich was a Democratic candidate on the ballot in the July 7, 2020 Primary

 Election for the office of United States House of Representatives in New Jersey’s Fifth

 Congressional District (Docket No. 33, ¶24), and Spezakis was a Democratic candidate on the

 ballot in the July 7, 2020 Primary Election for the office of United States House of

 Representatives in New Jersey’s Ninth Congressional District (Docket No. 33, ¶44) and

 represents that she intends to again run as a candidate for this office in the June 7, 2022 Primary

 Election (Docket No. 33, ¶160).

         3.     As candidates for those respective offices, both Kreibich and Spezakis appeared

 as candidates on ballots in elections held in the County of Bergen. (Docket No. 33, ¶¶120 and

 154).

         4.     Kreibich exercised her First Amendment right of association with two (2)

 candidates for county freeholder on the ballot in the July 7, 2020 Primary Election. (Docket No.

 33, ¶123).

         5.     While Spezakis chose to exercise her First Amendment right to associate with

 candidates for other offices on the ballot in the July 7, 2020 Primary Election, Spezakis represents

 that she intends to exercise her constitutional right to not associate with any candidates in the


                                                  3
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 8 of 21 PageID: 816




 June 7, 2022 Primary Election. (Docket No. 33, ¶¶152-160).

         6.      Kreibich and Spezakis each appeared as a candidate for the office of United States

 House of Representatives on the same row as every other candidate for said office on every ballot

 upon which their name so appeared. (Docket No. 33, ¶¶120 and 154).

         7.      The Honorable John S. Hogan is named as a Defendant in the Amended Complaint

 in his official capacity as Bergen County Clerk (hereinafter, the “Bergen County Clerk”). (Docket

 No. 33, ¶60).

         8.      The Bergen County Clerk is responsible for: (a) the designing, preparing and

 printing of all ballots, (b) the issuance of all vote by mail ballots and (3) conducting drawings for

 candidate ballot position for elections held in the County of Bergen. (Docket No. 33, ¶60).

         9.      Pursuant to N.J.S.A. 19:23-24, all county clerks maintain sole jurisdiction over the

 primary election ballot design and candidate placement for primaryelection ballots.

         10.     The Bergen County Clerk conducted the candidate ballot position draw on April

 9, 2020 as guided by New Jersey law. (Docket No. 33, ¶119).

         11.     Pursuant to New Jersey law, candidates for elected office are permitted to bracket

 with other candidates (to form what is commonly referred to as a "ticket") so that those “bracketed”

 candidates may then appear together on the ballot either in the same column (as is the case in the

 County of Bergen) or the same row and, in many instances, utilizing the same “slogan.” (Docket

 No. 33).

         12.     Pursuant to N.J.S.A. 19:49-2, any political candidates desirous of bracketing with

 other political candidates and utilize the same “slogan” as other political candidates must

 submit such requests to the Bergen County Clerk within forty-eight (48) hours of the

 governing nominating petition filing deadline.

         13.     Pursuant to N.J.S.A. § 19:49-2, the only candidates that can file joint petitions
                                                     4
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 9 of 21 PageID: 817




 underNew Jersey law are county candidates (formerly Freeholders, now Commissioners) who

 are running for the same office for the same term. If a candidate seeks to be included "on the

 line" or bracketed with county candidates, they must make a written request for such inclusion to

 the Bergen County Clerk within two (2) days of the filing of the petition. The Bergen County

 Clerk must then forward any such request received to the county candidates' campaign

 manager for approval.

        14.    Pursuant to N.J.S.A. 19:23-26.1, in a year in which there is an election for the

 United StatesSenate (as was the case in the July 7, 2020 Primary Election), ballot position is

 selected by first drawing the names of those United States Senate candidates who are

 bracketed with county candidates, with the first name drawn being placed in the first column

 with their slate of candidates, followed by the second name, and so on. (Docket No. 33, ¶82).

        15.    For the July 7, 2020 Democratic Primary Election, Kriebich was facing one (1)

 other candidate to appear as the Democratic Party nominee for the subject office on the November

 3, General Election ballot and Spezakis was facing two (2) other candidates to appear as the

 Democratic Party nominee for the subject office on the November 3, 2020 General Election ballot.

 (Docket No. 33, ¶¶120 and 154).

        16.    Kriebich appeared in the third column on the July 7, 2020 Democratic Primary

 Election ballot for the office of United States House of Representatives in New Jersey’s Fifth

 Congressional District as she did not bracket with a candidate for United States Senate. (Docket

 No. 33).

        17.    There were two (2) candidates appearing on the July 7, 2020 Democratic Primary

 Election ballot for the office of United States Senator and Cory Booker’s name was drawn to

 appear first on the ballot. As a result, Josh Gottheimer, who bracketed with Cory Booker,


                                                5
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 10 of 21 PageID: 818




  appeared in the first column on the July 7, 2020 Democratic Primary Election ballot for the office

  of United States House of Representatives in New Jersey’s Fifth Congressional District. (Docket

  No. 33, ¶120).

         18.       Spezakis appeared in the second column on the July 7, 2020 Democratic Primary

  Election ballot for the office of United States House of Representatives in New Jersey’s Ninth

  Congressional District as he bracketed with Lawrence Hamm, who was the challenger to Cory

  Booker, had his name drawn to appear in the second column on the July 7, 2020 Democratic

  Primary Election ballot for the Office of United States Senator. (Docket No. 33, ¶154).

         19.       Following the tabulation of the results of the July 7, 2020 Democratic Primary

  Election, both Kreibich and Spezakis were each defeated by incumbent candidates.

         20.       Based upon the facts as presented in this matter, when applying the relevant

  governing laws thereto, it is appropriate and proper for this Court to grant this motion and

  dismiss Plaintiffs’ Amended Complaint in its entirety, with prejudice.

                                       LEGAL ARGUMENT

                                    STANDARD OF REVIEW

         In reviewing Plaintiffs’ Amended Complaint on this motion brough under Fed. R. Civ. P.

  12(b)(6), this court must accept the factual allegations set forth by Plaintiffs as true. The factual

  allegations set forth by Plaintiffs here relevant to the Bergen County Clerk are agreed upon by the

  Bergen County Clerk as noted hereinabove. However, Plaintiffs’ conclusory allegations, general

  propositions and legal conclusions are not entitled to the same assumption of truth being made by

  this Court.   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see also Anspach v. City of

  Philadelphia, 503 F.3d 256, 260 (3d Cir. 2007) (quoting Morse v. Lower Merion School Dist., 132

  F.3d 902, 906 (3d Cir. 1997) (conclusory allegations or legal conclusions presented by a plaintiff


                                                   6
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 11 of 21 PageID: 819




  as factual allegations will not be found by a reviewing court to be sufficient to avoid dismissal of

  a complaint).

         Further, a defendant bringing a motion to dismiss under Fed. R. Civ. P. 12(b)(6) bears the

  burden of showing that no claim has been presented within the complaint. Hedges v. United States,

  404 F.3d 744, 750 (3d Cir. 2005). In order to survive the motion a complaint must “state a claim

  to relief that is plausible onits face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

  Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

         As Plaintiffs’ Amended Complaint presents a constitutional challenge New Jersey election

  laws, the standard of review for election is a weighing process. The United States Supreme Court

  has set forth a test to be applied when election laws are subjected to challenge on First Amendment

  grounds. Here, in reviewing Plaintiffs’ Amended Complaint under this standard and prior to

  making a determination as to whether the New Jersey statutes challenged by Plaintiffs are

  unconstitutional, this Court must consider the burden being placed on rights asserted by Plaintiffs

  and his Court must then balance that burden against the State’s interests and make a determination

  as to what extent do the State’s interests require the burdening of Plaintiffs’ rights. Timmons v.

  Twin Cities Area New Party, 520U.S. 351, 357-58 (1997); Burdick v. Takushi, 504 U.S. 428,

  434 (1992); see also Democratic-Republican Org. v. Guadagno, 900 F. Supp. 2d 447, 453 (D.N.J.

  2012), aff’d, 700 F.3d 130 (3d Cir. 2012).

         Here, the election law statutes challenged by Plaintiffs are neutral on their face, applying

  equally toall candidates for elected office. The bracketing statutes are narrowly tailored to meet

  the State’s interest of candidates having legitimate associations with other candidates appearing

  on the ballot and ensure the integrity of the electoral process, protecting against voters being misled

  or confused at the polls. The subject statute allows all candidates seeking a political party’s


                                                    7
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 12 of 21 PageID: 820




  nomination for a specific office to be placed in the same column (or row as the case may be).

  Further, and importantly here, the ballot position of any candidate or bracketed group of candidates

  is randomly drawn which does not present a severe burden on Plaintiffs’ rights. N.J.S.A. 19:23-

  24.

             As set forth herein, and in the moving papers submitted by other Co-Defendants in support

  of their respective motions to dismiss Plaintiffs’ Amended Complaint, Plaintiffs have failed to

  state in their Amended Complaint a claim upon which relief can be granted as the governing New

  Jersey bracketing statutes survive constitutionalscrutiny. As a result, this Court should grant the

  Bergen County Clerk’s Motion to Dismiss.

  I.      PLAINTIFFS’ FIRST AMENDED COMPLAINT MUST BE DISMISSED BASED
          UPON ITS FAILURE TO STATE A CLAIM UPON WHICH RELIEF MAY BE
          GRANTED BY THIS COURT

             “A ‘political party’ may be generally defined as an unincorporated association ofpersons

  which sponsors certain ideas of government or maintains certain political principles or beliefs in

  the public policies of the government. It is formed for the purpose urging the adoption and

  execution of such principles in governmental affairs through officers of like beliefs.” Rogers v.

  State Committee of Republican Party, 236 N.J. Super. 303, 319-320 (App. Div. 1989). A political

  party is entitled to hold a primary election in the State of New Jersey. N.J.S.A. 19:5-1. “Candidates

  to be voted for at the primary election for the general election shall be nominated exclusively by

  members of the same political party by petition.” N.J.S.A. 19:23-5. There are two political parties

  that hold nominating primary elections in the State of New Jersey: the Republican and Democratic

  Parties.

             The constitutional challenge presented within Plaintiffs’ Amended Complaint to the New

  Jersey statutes governing bracketing and candidate ballot placement fails and such a challenge

                                                     8
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 13 of 21 PageID: 821




  cannot survive the review to be applied by this Court. As a result, the challenged New Jersey

  statutes should be upheld by this Court and, accordingly, this Court must dismiss Plaintiffs’

  Amended Complaint in its entirety, with prejudice.

         N.J.S.A. 19:49-2 provides, in pertinent part:

         For the primary election for the general election in allcounties where voting machines
         are or shall be used, allcandidates who shall file a joint petition with the county clerk
         of their respective county and who shall choose the same designation or slogan shall
         be drawn forposition on the ballot as a unit and shall have their names placed on the
         same line of the voting machine; and provided further, that all candidates for
         municipal or party office in municipalities in counties where votingmachines are or
         shall be used who shall file a petitionwith the clerk of their municipality bearing
         the same designation or slogan as that of the candidates filinga joint petition with
         the county clerk as aforesaid, mayrequest that his or her name be placed on the same
         lineof the voting machine with the candidates who have fileda joint petition with the
         county clerk as aforesaid by so notifying the county clerk of said county in writing
         within two days after the last day for filing nominatingpetitions and thereupon the
         county clerk shall forthwithnotify the campaign manager of such candidates filing a
         joint petition as aforesaid of said request, and if thesaid campaign manager shall
         file his consent in writingwith the said county clerk within two days after the receipt
         of said notification from said county clerk, the clerk of said county shall place the
         name of such candidate on the same line of the voting machine on whichappears the
         names of the candidates who have filed the joint petition as aforesaid; provided,
         also, that any candidate filing a petition with the Attorney General may request that
         his or her name be placed on the same line of the voting machine with the candidates
         who havefiled a joint petition with the county clerk as aforesaidby so notifying the
         county clerk of said county in writing within two days after the last day for filing
         nominating petitions, and thereupon the county clerk shall forthwith notify the
         campaign manager of such candidates filing a joint petition as aforesaid of said
         request, and if the said campaign manager shall file hisconsent in writing with the said
         county clerk within twodays after the receipt of said notification from said county
         clerk, the clerk of said county shall place the name of such candidate on the same
         line of the voting machine on which appears the names of the candidates whohave
         filed the joint petition as aforesaid.

         In reviewing this statute governing Primary Election ballot design, the New Jersey Supreme

  Court has held, nearly 80 years ago, that it is in fact up to the discretion of the county clerks to

  determine how to structure the candidate ballot placement drawing as between bracketed

  candidates and independent candidates. Hawkes v. Gates, 129 N.J.L. 5 (1942). The New Jersey


                                                    9
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 14 of 21 PageID: 822




  Supreme Court, over 20 years following its decision in Hawkes, opined that “it is not for a court

  to choose one of several reasonable courses, for that choice is precisely what the Legislature left

  to another” – that being the county clerks – and the New Jersey Supreme Court went on to declare

  that it would only act “if it clearly appears the course taken [by the county clerk] is not rooted

  in reason.” Richardson v. Caputo, 46 N.J. 3, 9 (1965).

          Plaintiffs cannot argue that “[t]here can be no doubt about the authority of the Legislature

   to adopt reasonable regulations for the conduct of primary and general elections. Such

   regulations, of course, may control the manner of preparation of the ballot, so long as they do not

   prevent a qualified elector from exercising his constitutional right to vote for any person he

   chooses.”   Quaremba v. Allan, 67 N.J. 1, 11 (1975).      The plaintiff in Quaremba, not unlike

   Plaintiffs here in their Amended Complaint, sought the change from the procedures to be

   followed pursuant to N.J.S.A. 19:49-2 to the creation of a single column structured ballot, under

   which all candidates running for a specific office would be grouped together, regardless of any

   affiliation with other candidates for other offices. The New Jersey Supreme Court, following its

   review of the proposal of plaintiff in Quaremba, held there was “no merit” to the contention of

   plaintiff that ballot structure should be changed to that as presented by Plaintiff. Furthermore, a

   separation on the ballot of names of those candidates who were affiliated would in fact be

   contrary to the legislative purpose of N.J.S.A. 19:49-2. Quaremba v. Allan, 67 N.J. at 6. The

   New Jersey Supreme Court ultimately concluded that “nothing in the challenged section inhibits

   any voter from voting for any candidate of the voter’s choosing or in any way limits the rights of

   any individual to run as a candidate for public office. Quaremba 67 N.J. at 11.

         The assertion of Kreibich and Spezakis that ballot position resulting from the procedures

  followed by the Bergen County Clerk pursuant to N.J.S.A. 19:49-2 somehow unfairly affects them


                                                  10
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 15 of 21 PageID: 823




  ignores the fact that all candidates for any office appearing on a County of Bergen Primary Election

  ballot are placed in the same ballot row (or column pursuant to the design utilized by other New

  Jersey county clerks). Both Kreibich and Spezakis did in fact exercise their First Amendment rights

  to associate with other candidates for office in the July 7, 2020 Primary Election. Indeed, Spezakis

  did exactly what Kreibich complains of in the Amended Complaint – she exercised her First

  Amendment right to associate with a candidate for United States Senator in the July 7, 2020

  Primary Election which caused her to be placed in the second column on the ballot. Now, in order

  to attempt to present consistency in positions, Spezakis represents that she intends to exercise her

  First Amendment right to not associate with any other candidates for office in the June 7, 2022

  Primary Election. However, regardless of any such association with other candidates for office,

  both Kreibich and Specakis appeared on the same line of the ballot as other candidates running

  against them for the same public office.

         Bracketed candidates, and their respective political parties, exercise their right to “‘identify

  the people who constitute the association,’ and to select ‘a standard bearer who best represents the

  party’s ideologies and preferences.’” Eu v. San Francisco Democratic Central Committee, 489

  U.S. 214, 224 (1989). If New Jersey laws were to allow candidates to claim association with other

  candidates or political parties without the consent ofthe other candidate or political party, this

  would without question be the death knell of the constitutional freedom to associate. Id.

         Long before the guidance offered by the United States Supreme Court in Eu, New Jersey

  courts have upheld the freedom of candidates to associate – or to not associate, as the case may

  be - with other candidates based on shared political orideological views and positions. There is a

  “well-established pattern of having candidates fordifferent offices but similar view appear together

  on the ballot.” Gillen v. Sheil, 174 N.J. Super. 386 (Law Div., 1980). As opined by the court in


                                                   11
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 16 of 21 PageID: 824




  Gillen, “[t]his pattern is not simply one which benefits the candidates, but one which is essential

  to an intelligible ballot. Voters have an important interest in finding candidates of similar

  persuasion grouped together rather than being spread upon the ballot in random fashion.

  Voters are disadvantaged if philosophically affiliated candidates are scattered around the ballot.”

  Id. at 939.

          Indeed, the ballot structure utilized by the Bergen County Clerk in following the guidelines

  of N.J.S.A. 19:49-2 benefits Plaintiffs by making it clear to the voter where a candidate for office

  has decided to exercise their First Amendment right to not affiliate with any other candidate

  seeking public office on the Primary Election ballot. In other words, while any voter can easily

  determine the candidates running for any public office, including each of the Plaintiffs herein, by

  reviewing each line on their ballot in the County of Bergen, the same voter may also easily

  determine which candidates are exercising their First Amendment rights to associate – or to not

  associate – with other candidates for other public offices appearing on the ballot. To abandon the

  procedures and ballot structure followed by the Bergen County Clerk would, at best, create voter

  confusion and, at worst, violate the constitutional rights of candidates by making it impossible to

  determine which candidates chose to exercise their right to associate – and which candidates chose

  to exercise their right to not associate – and with those candidates who did exercise their right to

  associate, making it further impossible for a voter to determine who a candidate chose to associate

  with.

           In Anderson v. Celebrezze, 460 U.S. 780 (1983), the United States Supreme Court, in

   addressing voting rights, found that there must be “order, rather than chaos” and “the state’s

   important regulatory interests are generally sufficient to justify reasonable, nondiscriminatory

   restrictions.”   Id. Consistent with this finding, the United States       Supreme     Court   has


                                                  12
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 17 of 21 PageID: 825




   “repeatedly upheld reasonable, politically neutral regulations that have the effect of channeling

   expressive activity at the polls.” Burdick v. Takushi, 504 U.S. 428 (1992). The bringing of

   such order, and avoidance of chaos, is the very goal – and result – of the adoption and continuing

   application of N.J.S.A. 19:49-2 by the Bergen County Clerk to Primary Election ballots. As

   previously held by the New Jersey Supreme Court, “…the public interest is better served by

   permitting a grouping of candidates having common aimsor principles and authorizing those

   candidates to have this factbrought to the attention of the voter in a primary election withthe

   additional effectiveness produced by alignment of their names on the machine ballot.”

   Quaremba, 67 N.J. at 13.

           The Bergen County Clerk unequivocally contends that provisions of N.J.S.A. 19:49-2,

   and each of the various ballot design procedures followed by the Bergen County Clerk (and all

   other county clerks) pursuant thereto, are reasonable in all respects. However, even if this Court

   were to ultimately reach the conclusion that N.J.S.A. 19:49-2 unequally treats “bracketed” and

   “unbracketed” candidates, the statute must continue to be deemed to be constitutional as applied

   as it is both reasonable and politically neutral.

           Plaintiffs contend in their Amended Complaint that the Plaintiff-candidates and their

   voter-supporters are somehow harmed by the bracketing and ballot placement system established

   by New Jersey statute. Contrary to the contentions of Plaintiffs, in no way does N.J.S.A. 19:49-2

   restrict the access of any candidate seeking to be placed on a Primary Election ballot or does it

   deny any voter their right to vote for any candidate of their choosing for any office appearing on

   a ballot.

           A claim of vote dilution, as presented by Plaintiffs herein, will only be upheld when the

   challenged law devalues the votes of an identified community when compared to otherwise


                                                  13
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 18 of 21 PageID: 826




   similarly situated voters. Plaintiffs’ vote dilution claim, based upon nothing more than baseless

   speculation, cannot be allowed by this Court to continue. Republican Party of PA. v. Cortez, 218

   F.Supp. 3d 396, 406-407 (E.D. Pa. 2016).

          As such, the bracketing statutes are to be upheld if they arereasonable, nondiscriminatory,

  and serve an important Stateinterest. The bracketing statutes surely survive this less exacting

  review. However, even if the court were to find that thebracketing statutes placed a severe burden

  on Plaintiff, the bracketing statutes survive the higher scrutiny because the statues are narrowly

  tailored to advance a compelling state interest.

          “The rigorousness of our inquiry into the propriety of a stateelection law depends upon the

  extent to which a challenged regulation burdens First and Fourteenth Amendment

  rights…[W]hen a state election law provision imposes only “reasonable, nondiscriminatory

  restrictions” upon the First and Fourteenth Amendment rights of voters, "the State's important

  regulatory interests are generally sufficient to justify" the restrictions.”Burdick v. Takushi, 504

  U.S. at 434.

          The New Jersey Supreme Court stated in Lesniak v. Budzash that “[o]ne way political

  parties advance shared beliefs is by selecting candidates representing those shared beliefs to run

  in the general election.” 133 N.J. 1, 15 (1993). “The right to participate in a party’s candidate-

  selection process thus vests only in those who are associated together in pursuit of shared political

  ideals.” Id.   These undeniable interests equally apply to the right of candidates to determine

  whether to bracket and associate with one another on a Primary Election ballot. As political parties

  are empowered with the constitutional right to govern their own internal processes, it is reasonable

  for candidates appearing on the ballot in a political party’s Primary Election to have the right to

  associate with candidates for other offices through bracketing in order to clearly convey to voters

                                                     14
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 19 of 21 PageID: 827




  the sharing of political and ideological beliefs by those candidates choosing to bracket together.

          Plaintiffs cannot deny the compelling interests of the State of New Jersey in a properly

  informed electorate, an intelligible ballot for that properly informed electorate and ensuring that

  political parties, and individual members of those political parties, have a stake in their

  associations. Nader v. Schaffer, 417 F. Supp. 837, 844 (D. Conn.), aff’d, 429 U.S. 989 (1976).

  “The State’s interest in preserving the integrity of the electoral process is undoubtedly important.”

  Doe v. Reed, 561 U.S. 186, 197 (2010); see also Smith v. Penta, 85 N.J. 65, 71 (1979) (quoting

  Nader, 417 F. Supp. at 845) (“[A]state has a . . . legitimate interest in protecting the overall integrity

  of the historic electoral process.”). N.J.S.A. 19:49-2, being narrowly tailored to maintain its

  constitutionality, serves these compelling interests of the State. Nader, 417 F. Supp. at 847; Smith,

  85 N.J. at 71.

          When a party brings before the court an as-applied challenge, that party “does not contend

  that a law is unconstitutional as written”, rather, that party contends that the application of the

  challenged law to a specific person in a specific set of circumstances results in the denial of that

  person’s constitutional right. United States v. Marcavage, 609 F.3d 264, 273 (3d Cir. 2010).

  Plaintiffs’ as-applied challenge to the bracketing statutes as presented in the Amended Complaint

  must fail as Plaintiffs failed to plead sufficient facts to support a showing that the application of

  the bracketing statutes to Plaintiffs deprived any individual Plaintiff of a particular right. Neither

  the First or Fourteenth Amendments, those being the Amendments under which Plaintiffs now

  present their claims, guarantee any of the Plaintiffs any right to be placed at any specific location

  on the Primary Election ballot. Nor do the First or Fourteenth Amendments grant to Plaintiffs the

  right to negatively impact in any way the associational rights of other candidates appearing on the

  same Primary Election ballot.


                                                     15
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 20 of 21 PageID: 828




         Contrary to the positions taken by Plaintiffs in their Amended Complaint, candidates, and

  any political party which a candidate may align with, do in fact have the right to exercise their

  associative rights under the First and Fourteenth Amendments. As a result of the creation of the

  Primary Election ballot under the bracketing laws, these rights of association are upheld and voters

  will find that the names of all candidates included on the election ballot for which they may vote

  for any given office will appear in the same designated row (or column, as the case may be).

         Based upon the above, Plaintiffs’ Amended Complaint fails to state a claim upon which

  relief may be granted by this Court and this Court should therefore grant the motion of the Bergen

  County Clerk and dismiss Plaintiffs’ Amended Complaint in its entirety, with prejudice.

  II.    PLAINTIFFS’ CLAIMS ARE NOT RIPE FOR REVIEW BY THIS COURT

            Plaintiffs allege that the challenged statute will negatively impact the June 7, 2022

   Democratic Primary Election conducted in the County of Bergen. The doctrine of “[r]ipeness

   works to determine whether a party has broughtan action prematurely…and counsels abstention

   until such a time as a dispute is sufficiently concrete to satisfy the constitutional and prudential

   requirements of the doctrine.” Plains All Am. Pipeline L.P. v. Cook, 866 F.3d 534, 539 (3d Cir.

   2017).    Plains presented a three-part test to be applied to determine ripeness: i) the adversity of

   the parties’ interests; ii) the conclusiveness of the judgment, and iii) the utility of the judgment.

   Plains All Am. Pipeline, 866 F.3d at 540.

            Plaintiffs’ contention of some future harm is entirely dependent upon an infinite number

   of unknown variables. Spezakis represents that she “intends”to run for public office in the future

   and she further represents that she “intends” to exercise her constitutional right to not associate

   with other candidates at that time – after she did in fact associate with other candidates in the July

   7, 2020 Primary Election. Simply stated, there are countless scenarios where Spezakis’ intent on


                                                    16
Case 3:20-cv-08267-ZNQ-TJB Document 60-1 Filed 03/30/21 Page 21 of 21 PageID: 829




   running for public office may in fact be defeated, or contrarily impacted, absent any application

   of the challenged statute. Therefore, to the extent Plaintiffs’ claims are based upon mere

   hypothetical scenarios – Spezakis may not event obtain the necessary number of signatures to

   appear on the June 7, 2022 Primary Election ballot – pursuant to the test presented by the court in

   Plains, such claims are unripe and should not be considered at this time by this Court.

                                               CONCLUSION

         For all of the foregoing reasons, and for those arguments and reasons as presented in

  the moving papers submitted by other Defendants in support of their now pending Motions to

  Dismiss Plaintiffs’ Amended Complaint, the Motion to Dismiss filed with this Court by the Bergen

  County Clerk should now be granted in all respects, and Plaintiffs’ Amended Complaint should be

  dismissed in its entirety, with prejudice.

                                                 Respectfully submitted,
                                                 KAUFMAN, SEMERARO & LEIBMAN, LLP
                                                 Attorneys for Defendant John S. Hogan, in his
                                                 official capacity as Bergen County Clerk

                                                        /S/ Jaime R. Placek
                                                 By: ____________________________
                                                     Jaime R. Placek, Esq.
                                                     Attorney ID No. 041071996


  Date: March 29, 2021




                                                   17
